            Case 4:17-cr-00038-MLB-WEJ Document 102 Filed 12/18/18 Page 1 of 9




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                              ROME DIVISION

            UNITED STATES OF AMERICA,


            v.                               CIVIL ACTION FILE NO.
                                             4:17-CR-00038-02-HLM-WEJ

            NADYA IVETTE DIAZ,

                    Defendant.

                                           ORDER

                    This case is before the Court on the Motion to Dismiss

            Indictment filed by Defendant Nadya !vette Diaz ("Ms. Diaz")

            [75],     as   well   as    on    the    Non-Final      Report       and

            Recommendation of United States Magistrate Judge Walter

            E. Johnson [91] and Ms. Diaz's Objection to the Non-Final

            Report and Recommendation [98].



AO 72A

(Rev. 8/8

2)
           Case 4:17-cr-00038-MLB-WEJ Document 102 Filed 12/18/18 Page 2 of 9




           I.   Standard of Review

                When reviewing a magistrate judge's report and

           recommendation, 28 U.S.C. § 636 requires the district court

           to conduct "a de novo determination of those portions of the

           report . . . to which objection is made."               28 U.S.C. §

           636(b)(1). The Court therefore must conduct a de novo

           review of the report and recommendation if a party files a

           "proper, specific objection" to a factual finding contained

           therein. Macort v. Prem, Inc., 208 F. App'x 781, 784 (11th

           Cir. 2006); United States v. Gaddy, 894 F.2d 1307, 1315

           (11th Cir. 1990).

                If no party files a timely objection to a factual finding in

           the report and recommendation, the Court reviews that

           finding for clear error. Macort, 208 F. Appx. at 784. Legal

                                              2
AO 72A

(Rev.8/8

2)
           Case 4:17-cr-00038-MLB-WEJ Document 102 Filed 12/18/18 Page 3 of 9




           conclusions, of course, are subject to de novo review even

           if no party specifically objects. United States v. Keel, 164 F.

           Appx. 958, 961 (11th Cir. 2006); United States v. Warren,

           687 F.2d 347, 347 (11th Cir. 1982).

           II.   Background

                 On June 12, 2018, a grand jury in the Northern District

           of Georgia returned a nine-count Superseding Indictment

           against Defendant Anthony Michael Barr ("Mr. Barr") and

           Ms. Diaz. (Superseding Indictment (Docket Entry No. 35).)

           The indictment charged both Defendants with knowingly

           and willfully conspiring, in violation of 18 U.S.C. § 371, for

           Mr. Barr to possess firearms after being convicted of a

           felony, in violation of 18 U.S.C. §§ 2 and 922(g)(1). (Id.)




                                              3
AO 72A

(Rev 8/8

2)
           Case 4:17-cr-00038-MLB-WEJ Document 102 Filed 12/18/18 Page 4 of 9




                Ms. Diaz filed a Motion to Dismiss Indictment on (Mot.

           to Dismiss (Docket Entry No. 75).) On November 20, 2018,

           Judge      Johnson     issued      his      Non-Final   Report and

           Recommendation, recommending that the Court the Motion.

           (Non-Final Report & Recommendation (Docket Entry No.

           91).) Ms. Diaz filed her Objection to the Non-Final Report

           and Recommendation on December 4, 2018. (Obj. (Docket

           Entry No. 98).) The Court therefore finds this matter ripe for

           resolution.

           III. Discussion

                Ms.    Diaz     contended         in   her   Motion     that    the

           government's charges, as applied to her, violate her rights

           under the Second Amendment of the United States

           Constitution. (Mot. to Dismiss at 1-4.) Ms. Diaz alleges that

                                              4
AO 72A

(Rev.8/8

2)
           Case 4:17-cr-00038-MLB-WEJ Document 102 Filed 12/18/18 Page 5 of 9




           she is not herself prohibited from possessing firearms, and

           that she kept her lawfully purchased firearms at the

           residence that she jointly owned with Mr. Barr. Ms. Diaz

           argues that she was not obligated to forego her

           constitutional right to possess firearms in her home, but

           rather it was Mr. Barr's duty as a convicted felon to stay

           away from firearms. (Id.) Thus, according to Ms. Diaz, the

           charges against her violate the Second Amendment by

           punishing her merely for possessing firearms in her

           residence. (Id.)

                Judge Johnson concluded, however, that the Court

           "cannot rule on Ms. Diaz's as-applied challenge at this stage

           . . . because whether Ms. Diaz possessed firearms solely

           for her own use or conspired to aid and abet Mr. Barr's

                                              5
AO 72A

(Rev.8/8

2)
           Case 4:17-cr-00038-MLB-WEJ Document 102 Filed 12/18/18 Page 6 of 9




           possession of them, as the Government contends, is directly

           in dispute." (Non-Final Report & Recommendation at 4.)

           He further found that "[Nrosecution under the second

           scenario would not violate Ms. Diaz's Second Amendment

           right to keep and bear arms for her personal use. . . ." (Id.)

           Judge Johnson therefore recommended that the Court deny

           Ms. Diaz's Motion without prejudice. (Id. at 5.)

               Ms. Diaz raises only one objection to the Non-Final

           Report and Recommendation. She contends: "Assuming,

           arguendo, that the magistrate judge is correct that [the

           Court] cannot decide the motion because of disputed facts,

           the motion should not be denied without prejudice. Instead,

           it should be listed as a pending motion and deferred to the

           district court for resolution once the facts are presented."

                                              6
AO 72A

(Rev.8/8

2)
           Case 4:17-cr-00038-MLB-WEJ Document 102 Filed 12/18/18 Page 7 of 9




           (Obj. at 2.) Ms. Diaz intends to preserve "all arguments

           presented to the magistrate judge," regardless of whether

           the Court denies her Motion. (Id.)

               The Court agrees with Judge Johnson that, because

           key facts are directly disputed, it cannot resolve Ms. Diaz's

           as-applied challenge at this time. The Court further agrees

           with Judge Johnson that the appropriate procedure is to

           deny Ms. Diaz's Motion without prejudice. Accordingly, the

           Court will adopt Judge Johnson's recommendation and

           overrule Ms. Diaz's objection.

               The Court finds that Judge Johnson accurately

           summarized the Second Amendment law applicable to this

           case. In particular, Judge Johnson correctly found that,

           under District of Columbia v. Heller, 554 U.S. 570 (2008),

                                              7
AO 72A

(Rev.8/8

2)
           Case 4:17-cr-00038-MLB-WEJ Document 102 Filed 12/18/18 Page 8 of 9




           the Second Amendment does not "cast doubt on

           longstanding prohibitions on the possession of firearms by

           felons." (Non-Final Report & Recommendation at 3 (quoting

           Heller, 554 U.S. at 626.) Thus, prosecuting Ms. Diaz for

           "conspir[ing] to aid and abet Mr. Barr's possession of

           [firearms], as the Government contends," does not violate

           the Second Amendment. (Id. at 4.) Because this factual

           issue remains in dispute, the Court cannot resolve Ms.

           Diaz's as-applied challenge to the charges against her at

           this stage of the proceedings.

               The Court also will deny Ms. Diaz's Motion without

           prejudice, as Judge Johnson recommended, rather than

           defer the Motion. Federal Rule of Criminal Procedure 12

           provides that a defendant "may raise by pretrial motion any

                                              8
AO 72A

(Rev.8/8

2)
           Case 4:17-cr-00038-MLB-WEJ Document 102 Filed 12/18/18 Page 9 of 9




           defense. . . that the court can determine without a trial on the

           merits." Fed. R. Crim. P. 12(b)(1). The Court cannot resolve

           Ms. Diaz's defense without a trial, however, and it therefore

           must deny her pretrial motion.              Having preserved her

           arguments, Ms. Diaz may renew her Second Amendment

           defense both during and after trial.

           IV. Conclusion

               ACCORDINGLY, the Court ADOPTS the Non-Final

           Report and Recommendation of United States District Judge

           Walter E. Johnson [91], OVERRULES Ms. Diaz's Objection

           thereto [98], and DENIES Ms. Diaz's Motion to Dismiss

           Indictment [75].

                IT IS SO ORDERED, this the j_c7ay of December, 2018.


                           SEN        UITED S           ES DISTRICT JUDGE

                                              9
AO 72A

(Rev.8/8

2)
